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                                  AN DRE M IM S
                                REG .N O .40565-054
                                  FcIDANBURY
                          FED ER AL C OR R .W STITU TION
                                     R O U TE 37
                               D AN BURY ,CT 06811
                                     Aprill-
                                           a,2021
   M s.AngelaE.N oble                                                 '


   Clerk ofCourt                                                F
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                                                                     .@.Y.
                                                                   .. : .
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                                                                             t.
                                                                              :'7-..
                                                                                   -n-.c.
                                                                                     . ..


   U .S.DistrictCourt
   Southem D istrictofFlorida                                             àp'
                                                                            j @@ 242.     1
   W estPalm Beach Division                                                 '   '
                                                                          t y . ikNQBG
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   701 C lem atis Street,R oom 202
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                                                                            '.F%,sv.:tszr:et
                                                                                    ..WZRK
                                                                                               ;
                                                                                               '
                                                            .   ). ,L2.L-- . - - .             .

   W estPalm Beach,FL 33401

         RE: M ims v.United States
             Crim N o.9:97-c1--08075-        -1

   D earM s.N oble'
                  .

               EnclosedpleasefindandacceptforslingM ovant'sSupplem entalReply
   to Governm ent'sResponseto D efendant'sM otion to Reduce His Sentence.Please
   subm itthisdocum entto the Court.

         Tharlk you foryourassistance in thism atter.

                                              Sincerely,



                                                  g        ' '
                                              A N D RE M IM S
                                              Appearing Pro Se


   Encl.as noted
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                     UN ITED STATES DISTRICT COU RT
                     SO UTH ERN DISTR ICT O F FLORIDA

                          Crim N o.9:97-cr-08075-11M M -1

  ANDRE M IM S,

              M ovant,



  UNITED STATES OF AM ERICA

              Respondent.
                                          /

       SUPPLEM ENTAL REPLY TO G OV ERNM ENT'S RESPON SE TO
          DEFEO ANT'S M O TION TO R EDUCE H IS SENTENCE

        COMES Movant,ANDRE M IM S (û1Mims'') appearing pro se,and ftlesa
  supplementalreplytoGovemment'sResponseC1GR'')toM ims'M otionRequesting
  M odiscationofSentencePtlrsuantto 18U.S.C.j3582(c)(1)(A)(i)forCompassionate
  Release.(GçM otionforCompassionateRelease'')asfollows:
                         PR EL IM IN A R Y STA TE M EN T

        Asa prelim inary m atter,M imsrespectfully requeststhattlzisCotu'tbe mindful

  thafrm secom ple tsareto beheld tttolesssfringentstandardst11% fonnalpleadings

  drafted by law yersv''and shouldthereforebeliberally construed.Caldwellv.Warden,

  748 F.3d 1090 (11thCir.2014),
                              .Estelle v.Gamble,429 U.S.97 (1976)(snme);and
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  Hainesv.Kerner,404 U.S.519(1972)(snme).Secondly,Mimsadoptsbyreference
   and in wholehisargum entspreviouslyflled in hisM otion forCompassionateRelease

   and initialReply to Govem m ent'sResponsein Opposition to D efendant'sM otion for

   Compassionate Release.SeeD ocs.406,412.1

                              GO VERN M ENT'S R ESPO N SE

          TheGR isdivided intotlzree(3)main sections:(1)ProceduralBackgrotmd;(11)
   Argtlment;and(111)Conclusion.SeeDoc.409.M imswillreply sequentially to each
   section ofthe GR asfollow s:

                            L PRO CEDUR AL BA CK GR OUND

          The governm entinthismain section oftheGR givesafairand acclzratereading

   oftheprocedtlralbackgrotmd in thiscase.1d.at1-4.M imsdoesnotobjectto this
   section of the GR exceptfor the governm ent's contention that,ii'l'llis Courtlacks

   authority to grantthisrelief,and tlze motion should be denied''.1d.at4.

                                       lI.A R G U M EN T

          Tlzis main section ofthe GR is divided into four (4) subsections:(A) The
   PertinentStatuteDirectsl atiEExkaore o r dcom peM gclc= st> ces''M oe g

   CompassionateReleaseAreDee edby the Sentencing Commission;(B)Exhaustion
          1
            t&Doc.''refersto the DocketReportin the United StatesDistrictCourtfor'the Southern
   D istrict ofFloridw W estPalm Beach D ivision in Crim inalN o.9:97-cr-08075-K M M -1,w hich is
   immediately followedby theDocketEntryNumber.
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     ofAdminisàativeRemedies;(C)TheGoverningPolicy StatementDoesNotPermit
     ReliefBased on DisagreementW ith theLength ofaM andatory Sentence;and (D)
     Early ReleaseisAlso Inconsistentwith theFactorsin 18U.S.C.j3553.Id.at4-11.
     Again,M im sw illreply sequentially to each subsection ofthe GR asfollow s:

                 A.    The Pertinent Statute D irects that RExtraordinary and
                       PompellingCircumstances''AllowingCompassionateRelease
                       A re D elned by the Sentencing C om m ission.

           In thissubsection ofthe GR,the governmentarguesthat:

           ln Section 603(b)ofthe FirstStep Act,Conpessadded theitalicized
           passagethatpermitsa defendant,aûerdenialofarequestto BOP thatit
           sponsorarequestforcom passionaterelease,orthepassageofaspecifed
           period oftim e O er seeking BOP'sacquiescence,to him selfm ove the
           court for relief. Previously, only BOP could initiate a motion for
           compassionate release. In other w ords, in am ending Section
           3582(c)(1)(A),Conpess granted inmates a new procedtlralright:tlze
           opportunity to bring m otions for com passionate release directly.ln so
           providing, Conv ess did not alter the substantive criteria governing
           motions for compassionate release,which remain subjectto binding
           guidance ofthe Sentencing Com mission.''

     1d.at6.

           Follow ing the warden's denial,M im s flled in this Courthis pending m otion

     lmder18U.S.C.j3582(c)(1)(A)(i),argainga sentencereductionwaswarranted by
     iûexkaordinary and compelM g circllm stances.'' Conp ess lGEclarified' the
 '
     judicially-createdruleon stackingmultiple''j924/)convictionssuch thatifhehad
     been sentenced aftertheFirstStep A ct,hew otlld havefaced am andatory sentence öf

                                             3
Case 9:97-cr-08075-KMM Document 413 Entered on FLSD Docket 04/23/2021 Page 5 of 19



   only 10 years,instead of25 yearsimprisomnent.

         The Governm entrelies on the proposition that Section 403 does not apply

  retroactivelyto a Section 924/)sentenceimposed priorto thepassage oftheFSA.
  However,M imsisnotseeking aresentencingin accordancewith Section 403,
                                                                      *rather,

  heisaskingthisCourttoconsiderthelength ofhissentence,lzisfam ily ckcum stances,

   mzd histime served as ûçextraordinaly and compelling reasons''forrelease tm der a

   dilerentprovision oftheFSA.See,e.g.,Unitedstatesv.M artin,N o.08-20011,2020

  W L 4530447,at*1(E.D.M ich.Aug.6,2020)(notingtheGovernment'sretroactivity
   argumentslmderRichardson arellwell-txken,but()notentirely dispositive''wherea
   defendantsoughtreliefunderSection 3582ratherthalzadirectapplication oftheFSA 'S

   amendmentsto Section 924(c),butdecliningtoreach theissueasthedefendanthad
  fal
    'led to exhaust his administrative   remediesl,
                                                  ' United States v. Turns, No.
  2:99-cr-104-1,2020R 2519710,at*4 (S.D.OhioM ay 18,2020)tsamel;see also
   United Statesv.M oore,---F.Supp.3d --,2020 W L 4926601,at*7 (noting that
   Conpess chose not to make 924/) rekoactive,but suggesting that iV e poss
  lmfaimessrestllting9om (Congress'sqfailtlre,''whenpresentedw1t11othercompelling
   circtlm stances,cotlldwarrantasentencereduction).
         TheO '
              Bryan decision,am ong others,specé cally addressesthe otherplincipal

   objectionraisedbythegovernmenthereandin otherj924/)compassionaterelease
                                          4
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   cases,namely,thatgrantingreliefbecauseofthekansformativechangeinthej924/)
   sentencing schem e ushered in by the FirstStep Actwotlld nm cotmterto Congress's

   decision notto m akethatchangerekoactive.The Courtreasoned:

        N otably,the only rationale ofered by the governm entforopposing the
        reliefsoughtisthe contention thatCongressdid notspect  'fy thatSection
         403oftheFSA (nmending18U.S.C.j924(c)1shottldapplyrekoactively.
         ...However,thissimplyestablishesthatadefendmztsentencedbeforethe
         FSA isnotautom atically entitled to resentencing;itdoesnotm ean that
         thecourtm aynotorshotlld notconsidertheeFectofaradically changed
         sentenceforpurposesofapplgng j3582(c)(1)(A).Thatis,thefactthat
         theFSA changesin j924/)werenotexplicitlyrekoactiveisGlrelevant
         gbutjultimatelyhaslittlebenring''onwhetherthecourtisempoweredto
         acttmderSection 3582,becauseiilijtisnotunreasonableforConpessto
         concludethatnotalldefendantsconvictedtmderj924/)shotlldreceive
         new sentences,even wlzile expanding thepow erofthe courtsto relieve
         som e defendantsofthose sentenceson a case-by-casebasis.''

   Unitedstatesv.M aumau,(No20-4056)(101 Cir.Aplil1,2021)atp.7.
               B.    Exhaustion ofA dm inistrative R em edies.

         M im ssled a M otion forCompassionate Release through the BOP system on

   December19,2019 buttheW ardenM .Licon-vitaledeniedhisrequestson January 7,

   2020.See D oc.409 at7.Because the BOP declined to ftle such am otion on M im s'

   behnlf,exhaustion ofadminiskativerem ediesisnotan issueintlziscase.See18U .S.C.

   j3582(c)(1)(A).
         As M im s'm otion is properly before the Cotut the next issue is whether

   D efendant is eligible for compassionate release.For Defendant to be eligible for
Case 9:97-cr-08075-KMM Document 413 Entered on FLSD Docket 04/23/2021 Page 7 of 19



   compassionaterelease,the Cotut O erconsideling therelevantfactorssetforth at18

   U.S.C.j3553($,mustdeterminethatiiextraordl
                                            'naryandcompellingreasons''warrant
   areduction in M im s'term ofimprisonmentand thatthe reduction isGtconsistentw ith

   applicable policy statementsissued by the Sentencing Commission.''18 U.S.C.j

   3582(c)(1)(A).
               C.    TheG overningpolicyStatem entDoesN otperm itR eEefBased
                     on Disagreem entW ith the L ength of a M andatory Sentence.

         In lzism otion,M im spresents argtlm entsaddressing two ofthe fotlrcategories

   ofiçextraordinary and compelling reasons.''l'
                                               Iisprim ary argum entis thatCongress's

   amendmentof j 924/)in the FSA constitutesan tGextraordinary and compelling
   reason''for a sentence reduction.Specz cally, M im s argues that his 410-m onth

   mandatorym inimllm sentencewastherestlltofaGtprosecutorialpracticeofGstacking'

   j924/)chargesin thesameindictmentwithoutapreviousj924/)conviction.''As
   arestllt,Mimswassubjecttoamandatoryminimum sentenceof300monthsfortwo
   j924/)convictions,tonm consecutivetohisllo-month sentenceforhisHobbsAct
   violations.M ims arguesthathissentenceisnow 15 yearslongert11% whatConp ess

   hasnow deemed an Lladequate ptmishmentfor comparable j 924/)conduct.''He
   furtherarguesthatthereisap ossdisparity between the sentencethathereceived and

   the sentence he wottld now receive afterthe FSA amended j924/)in 2018.In

                                           6
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   Response,the GovernmentreiteratesthatM im shasfailed to presentargtlm entsthat

   comportw1t11the j 1B1.13 policy statement,thatarekoactiveapplication ofSection
   403 ofthe FSA is inappropriate here.ln supplem entto llis Reply to the GR,M im s

   emphasizesthata number ofcourts have redtlced tlze sentences ofindividuals w1t.
                                                                                 11

   pre-FirstStep Act924/)chlges,asfollows
         United Statesv.Haynes,456 F.Supp.3d 496 (E.D.N.Y.2020).Findingthat
   First Step Act's elimination of çlstacking'' 18 U.S.C.j 924/) convictions for
   sentencà gpurposescotlldbeconsideredanextraordinaryandcom pellingcirctlm stance

   tmder18U.S.C.j3582/).
         Unitedstatesv.Riley,CaseNo.2:12-c1--62 (D.Vt.M ay.12,2020).TheCourt
   considersRiley'scircumstnncestmderthe catch-allprovision in U.S.S.G.j 1B1.13

   n.1(D).See,e.g.,Unitedstatesv.HaynesnNo.93CR 1043(RJD),2020W L 1941478,
   at*15(E.D.N.Y.Apr.22,2020)(notingthatadistrictcourttLhastheauthoritytogrant
   thereliefsoughtinthiscase- namely,todeterminewhattotherReasons'(asthatterm
   isusedilzApplicationNote1(D))qualifyasiexkaordinaryandcompelling'regardless
   ofBOP'sview on them atterand w ithouthaving to aw aita som eday-updating by the

   Commission of its lmquestionably outdated policy statemenf). The Sentencing
   Commissionprovidedthatitotherreasons''mayjustify compassionaterelease,either
   alone orin connection with the Section 1B1.13 listed circllm stances.Here,Riley's
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  family circum stancesareconsiderable,and ashearguesin hismostrecentm otion,his

  m edicalcondition addssigniscantw eightto hisrequest.

         Unitedstatesv.M arks,455F.Supp.3d 17,36(W .D.N.Y.2020)(holdingthat,
   whilethe rekoactivity provisionsofthe FSA did notapply directly to defendant,the

   FSA still'Kevidences Conpess'sintentto mitigate theharsh and sometimesunjust
   effectsofthesentencing1aws'');UnitedStatesv.Redd,444 F.Supp.3d717,722-24
   (E.D.Va.2020)(fnding discrepancy between defendant's603-month sentence-
  imposedtmdermandatoryGuidelinesandpriorpracticeofiEstacking''j924(c)charges
  -
      and m odem sentencesforsam econducttp constimte exkaordinary and compelling

  reasonjustifyingcompassionatereleasel;and Unitedstatesv.CurtisnNo.03-CR-533,
   2020W L 1935543,at*3(D.D.C.Apr.22,2020)(considelingharshnessofdefendant's
   sentencein evaluatingthe j 3553(a)factorsl;United States v.Urkevich,2019 W L
   6037391(D.Neb.Nov.14,2019)(concludingtlzatthestackingprovisionof18U.S.C.
   j924/)constitutesanexkaordinary and compellingreasonforreductioninsentence
   aftertheFirstStep Act).
         Seealso,United Statesv.M ccoy,No.20-6821(4thCir.Dec.2,2020).The '%




   defendants in these consolidated appeals were convicted of robberies and

   accompanying flrenrmsviolationstmder18 U.S.C.j 924(c).Atthetime,sentences
  tmderj9244c)wereçistackedv''whichexposedthedefendantstoadditionalmandatory
                                          8
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   minimum sand1edto sentencesranging9om 35to 53 yearsofim prisonm ent.M erthe

   defendants'convictionsbecam e fm al,Congresspassed the FirstStep A ctand ended

   sentence ltstacking''tmder j 924(c).Today,the defendants' sentences would be
   (Ire atically shorter- in m ostcases,by 30 years- than the onesthey received.

         Atthesametime itshortened sentencestmderj924(c),the FirstStep Act
   sipuxcantly expanded access to compassionate release tmder 18 U.S.C. j

   3582(c)(1)(A).Priorversionsofj3582(c)(1)(A),which empowerscourtsto reduce
   sentencesforEûextraordinaryandcompellingreasons,''hadallowedreview ofsentences

   onlyattherequestoftheBtlreau ofPrisonsC1BOP'').TheFirstStepActremovedthe
   BOP âom thatgatekeepingrole,autholizing defendantsthem selvesto fllem otionsfor

   sentencereductions.

         Relying on both these First Step Act provisions,the defendants m oved for

   reductions in their sentences tmder j 3582(c)(1)(A), resting their case for
   tiexàaordilzary and compelling reasons''primarily on the lengt
                                                                ,h oftheir j 9244c)
   sentencesand the disparity between theirsentencesand thosethatConp ess deem ed

   appropriate in the First Step A ct.After considering each defendant's individual

   circum stances - including their youth at the tim e of the oFenses, their lack of

   sipuf
       ' cantpriorcrim inalllistory,theirexemplarybehaviorand rehabl
                                                                   'litationinprison,

   and their already-substantialyears ofincarceration - the disd ctcourts p anted the
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   defendants'm otionsand reduced theirsentencesto tim e served.

         The Foudh Clcit aY = ed the judm ents of the district courts.As the

   governmentemphasizeson appeal,#3582(c)(1)(A)prohibitssentencereductionsthat
   are not consistent w ith lçapplicable policy statem ents issued by tlze Sentencing

   Commission.''Butconàaryto thegovem ment'sargument,keatingthedefendants'j

   9244c) sentences as an Eiextraordinary and compelling''reason for release is not
   inconsistentwith any Liapplicablepolicy statement''ofthe SentencingComm ission for

   the simplereason thatthe Com mission hasyetto issue apolicy statem entthatapplies

   tomotionsfledbydefendantstmdertherecently amended j3582(c)(1)(A).Norwas
   itotherwise improper,w e conclude,forthe districtcourtsto considerthe FirstStep

   Act'sdeclarationoftheappropriatelevelofptmishmenttmderj924/)inassessingthe
   defendants'cases,on an individualized basis,forcompassionaterelease.

         TheSecond Circuit'sdescription oftheFkstStep Actanditsamendmentofj

   3582(c)(1)(A):anttincremental''changethatdoesnotmandatemorelelzientsentences
   acrossthe board butinstead givesnew discretion to thecourtsto considerleniency.

   Zullo,976 F.3d at230. The districtcourtsin thesecasesappropriately exercised the

   discretion conferred by Congress and cabined by the stamtory requirements of j

   3582(c)(1)(A). There isno errorin theirreliance on the length ofthe defendants'
   sentences,and the dram atic dep ee to which they exceed whatConp essnow deem s

                                          10
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   appropriate,in fnding tlextraordinary and compelling reasons''forpotentialsentence

   reductions.Thecourtstook seriously therequirem entthatthey conductindividunlized

   inqtliries,basingreliefnotonly on theFirstStep Act'schangeto sentencing1aw tm der

   j924/)butalsoon suchfactorsasthedefendants'relativeyouth atthetimeoftheir
   oFenses,their post-sentencing conductand rehabilitation,and the very substantial

   term sofimprisonm entthey already served.Thoseindividunlized determinationswere

   neither inconsistent w ith any Gtapplicable'' Sentencing Com mission gtlidance nor

   tantam otmttowholesalereàoactiveapplication oftheFirstStep Act'samendm entsto

   j924(c).
               D.    E arly R eleaseisA lso Inconsistentw ith the Factorsin 18 U .S.C .
                     j3553.
                     1.    Unwarranted Sentence D isparities Among
                           D efendants W ith Sim ilar Records Jfz/,tlH ave Been
                           Found Gzfj/tv t?fSim ilarConduct

         W ith respectto the need to avoid tmw arranted sentencing disparities,M ims'

   sentence is p ossly disparate relative to whata defendant today would receive for

   comparable conduct,received ptlrsuanttothe FirstStep Actby an increasing number

   ofdefendantsw ho w ere sentenced before the passage oftlze First Step Act.M im s

   essentially arguesthatthetmw arranted sentencingdisparity factormustbedetermined

   onlyw ithreferencetothosecomparablysim ated defend> tswhow eresentenced atthe


                                          11
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   timeofM im s'sentencingandthosebeingsentencedtodaytmderadiflkrentsentencing

   structure.M im s'sentence in 2002 isnow disparate relativeto defendantssentenced

   afterthepassage ofthe FSA .

         M im sisnow ,in eFect,to be re-sentenced today,aûerthe passageoftheFirst

   Step Act;andtheneedto avoidtmw arranted sentencingdisparitiesistobeassessed at

   thetim eofhissentencingtoday relativetothosecomparableoFenderswhohavebeen

   sentenced following the passage ofthe FirstStep Act.N ordoesthe FirstStep Act's

   lack ofretroactivityjustl'fywithholdingsentencingreliefgiventheoverallpurposeof
   the First Step Act nmendm ents,which expressly allow ed for the possibility for a

   sentencereductionbasedonalzilzdividunlizedassessmentofthej3553(a)factorsand
   other criteria.

         N ext,M im sarguesthatareduction ofsentenceisw arranted to avoid tmw anted

   sentencing disparities,tnkingintoconsideration case-specé
                                                           ' c circllm stancesrelated to

   M im s'character,and in lightofhispost-sentencingrehabilitation.

         Seee.g.,United States v.Vazquez-Rivera,470F.3d 443,449 (1StCir.2006)
   (recognizing thatG&a districtcourtmay considerdisparitiesamong co-defendantsin
   determining asentence'l;United Statesv.Parker,462 F.3d 273,277(3d Cir.2006)
   CEAlthouglzj3553(a)doesnotrequire(Iistrictcotlrtstoconsidersentencingdisparity
   nmongco-defendants,italsodoesnotprolzibitthem from doingso.''),
                                                                 'Unitedstatesv.
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   Gomez,215 F.App'x 200,202 (4th Ck.2007)(implying that consideration of
   co-defendant disparities is allowed,but concluding that Gom ez was not sim ilady

   situatedtotheco-defendantl;United States v.Bennett,664 F.3d 997,1015 (5thCir.
   2011)(çElAjvoidingtmwarranteddentencingdisparitiesnmongco-defendantsisavalid
   sentencingconsideration.'),cert.denied,11-9109,2012R 73388t(Apr.2,2012),
                                                                          .
   United States v.Simmons,501 F.3d 620,624 (6th Cir.2007) (t&A (listrictjudge,
   however,m ay exercisellis orherdiscretion and determ ine a defendant'ssentence in

   lightofaco-defendant'ssentence.'l;UnitedStatesv.Pulley,601F.3d 660,668(7th
   Cir.2010)(tçpulley properly contendsthatj3553(4(6)doesnotallow lmwarranted
   sentencing disparitiesbetween co-defendants.''(citing Statham,581 F.3d at556,
                                                                               .
   Bartlett,567F.3d at908-09$,'Unitedstatesv.Lazenby,439F.3d928,933 (8thCk.
   2006)(invalidating a sentence thatresulted in tmwarranted disparitiesbetween the
   sentencesofthedefendantandlessctllpablemembersofrelatedconspiraciesl;United
   Statesv.Saeteurn,504F.3d 1175,1181-83(9thCir.2007)(upholdingasalegitimate

   generalized j35534a)considerationthedistrictcotlrt'sdecisiontocomparedefendant
   withhisco-defendantsandsentencehim in accordancewithhisrolel;Unitedstatesv.
   Smart,518 F.3d 800,804 (10thCir.2008)(1t(A)disd ctcourtmay also properly
   accotmtfortmw anu ted disparitiesbetweenco-defendantswhoaresimilarly sim ated,

   and...thedistrictcourtmaycomparedefendantswhen decidingasentence.'l'
                                                                      ,United
                                          13
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   Statesv.Zavala,300F.App'x 792,795 (11thCir.2008)(ç&Itisnoterroneousforthe
   district court to have considered the &tm warranted sentence disparities nm ong

   defendantsw1111sim ilarrecordswho havebeen fotmd gul
                                                      'lty ofsimilarconduct'when

   the statutespecécally mandatessuch consideration.'l;United Statesv.M ejia,597
   F.3d 1329,1344 (D.C.Cir.2010) (consideling and rejecting an argumentthata
   disparitybetweenco-defendants'sentenceswastmwarranted),cert.denied,131S.Ct.
   586(2010).
         Aspreviously m entioned itlM im s'm otion forcom passionate release,he does

   notpresentadangertothecommlmityasprovidedby3142(g),
                                                     '1Bl.13(g).Tlzefactsof
   those detail w ere clearly laid out in M im s' m otion. See Doc. 406 at 17-20.

   Additionally,M im spointsthatevidenceoflzispost-sentencingrehabilitationw arrants

   areduction.1d.at21-25.M oreso,lzisBOP record doesnotshow thathe isviolentor

   athreattopublicsafety atldrecordsshow thathisrecidivism risk levelislow .1d.at26.

         IfM ims were sentenced today,his sentence would be asfollow s:110 m onths

   forthe cotmtstmderjj195l(a),922(g)(1),and 924(a)(2);60 monthsforone cotmt
   tmder j924(c);and 60 months for the other cotmt tmder j924(c), a11nmning
   consecutively,fora totalterm of230 m onths'im prisonm ent.M im shasalready served

   284 months,morethm1enough reason to reducehissentence to time served.The j

   3553(a)factors do notcounselfor a sentence outside tlzis range,alzd the type of
                                          14
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   variance originally fotm d by the Courtm ay havebeen appropriatew hen the original

   range w as so much higher,but not now .Tlzis sentence also avoids lmwarranted

   sentenclg disparities.

                                 111.CON CLU SIO N

         In tlzis m ain section ofthe GR,tlze governm entasks the Courtdeny M im s'

   m otion.How ever,forthe above and foregoing reasons,M im s'has already served a

   sentence nlm ost5ve years longer th% whatwould be imposed today forthe sam e

   conduct.Rem nining in prison wotlld only exacerbatethr sentencing disparity created

   by a sentencing practice wlzich Conp essended w 1t11the FSA by clanf
                                                                      'ying itsintent

   9om thebeginning.Mims'praysthatthisCourt% dsthatthej35534a)factorsweig,h
   in favorofreducinglzissentencetotim e served.

                                               Respectftllly subm itted,



   Dated:April l3, 2021.                                  LQ ..
                                               AN D RE M IM S
                                               REG .N O .40565-054
                                               FC1DAN BURY
                                               FEDERAL CORR.W STITU TION
                                               ROUT: 37
                                               DAN BURY,CT 06011
                                               Appeming Pro Se
Case 9:97-cr-08075-KMM Document 413 Entered on FLSD Docket 04/23/2021 Page 17 of 19



                          CERTIFICATE O F SERVICE

         lhereby certify thaton Aplil% ,2021,ah'
                                   .-           tleandcorrectcopy oftheaboveand
   foregoing Supplem entalReply to Govem m ent'sResponse to D efendant'sM otion to
   Reduce His Sentencew assentvia U .S.M ail,postage prepaid,to JenniferA Luce,
                                                                          .

   SpecialAssistantU .S.Attom ey atU .S.Attom ey'sOG ce,99 NE 4t11Skeet, M iaml',
   FL 33132.




                                             c w 'w '
                                             ANDRE M IM S




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